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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:10cr186-MHT
JARRELL W. WALKER, JR.             )           (WO)


                                ORDER

    It is ORDERED as follows:

    (1) Defendant Jarrell W. Walker, Jr.’s motion for

acquittal (Doc. No. 1757) is set for submission, without

oral argument, on September 30, 2011.

    (2) By September 9, 2011, defendant Walker is to file

a brief in support of his motion.

    (3) By September 23, 2011, the government is to file

a response.

    (4) By September 30, 2011, defendant Walker may file

a reply.

    (5) With regard to the briefs, the court makes two

observations.      First, Walker’s motion for acquittal is

inadequate.      It is conclusory at best.                 All briefs
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addressing the motion must explain in detail how, point

by point, the trial evidence is allegedly lacking or is

adequate.      Second,     any    brief    addressing       the   trial

evidence should cite where the evidence can be found in

the trial transcripts, by page and line.

    DONE, this the 26th day of August, 2011.

                              /s/ Myron H. Thompson
                           UNITED STATES DISTRICT JUDGE
